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                       IN THE UNITED STATES DISTRICT COURT

                           FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

                                              §
 WEATHERFORD        TECHNOLOGY                §     Civil Action No. 2:17-cv-456
 HOLDINGS, LLC and WEATHERFORD                §
 U.S., L.P.                                   §
                                              §     Jury Trial Requested
                                              §
             Plaintiffs,                      §     REDACTED PUBLIC VERSION
                                              §
       v.                                     §
                                              §
 TESCO   CORPORATION,    TESCO                §
 CORPORATION (US), AND TESCO                  §
 OFFSHORE SERVICES, INC.                      §
                                              §
             Defendants.                      §

       DECLARATION OF JAMES BAXTER IN SUPPORT OF WEATHERFORD’S
                         MOTION TO COMPEL
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    I, J. Boone Baxter, declare:

        1.      I am an associate with the law firm of Heim, Payne, and Chorush LLP, counsel

 for Weatherford Technology Holdings, LLC and Weatherford U.S. L.P. (“Weatherford”) in the

 above-captioned matter. I am over the age of 18 and am fully competent to make this declaration.

 I have personal knowledge of the facts stated herein. They are true and correct.

        2.      I have read an                   email from Brian Kelly, Deputy General Counsel

 of Tesco, wherein Mr. Kelly states that “     units have been produced,” referring to Pusher Arms.

 Mr. Kelly further states that     units have been sold to third-parties and    units remain in the

 U.S. I can produce a true and correct copy of the email upon the Court’s request.

        3.      On December 11, 2017, I delivered by email to Tesco Weatherford’s “Initial

 Production” letter, wherein Weatherford identifies and requests 21 categories of documents. An

 excerpt is attached as Exhibit B. Tesco responded by letter dated December 18, 2017, which

 stated, “As an initial matter, your letter appears to include numerous requests for production

 prohibited by the Local Rules and our Discovery Order. The Discovery Order, agreed to by

 Weatherford, expressly comprehends document production without requests for production. Dkt.

 No. 22 at n.1. Tesco will continue to comply with its discovery obligations, as governed by the

 Local Rules and the Discovery Order, but no more.” Tesco confirmed on a telephonic call on

 January 3, 2018 that Tesco need not respond to the document requests in Weatherford’s Initial

 Production Letter. I can produce a true and correct copy of Weatherford’s Initial Production

 Letter and Tesco’s December 18, 2017 response upon the Court’s request.

        4.      On December 11, 2016, Weatherford served its First Set of Interrogatories to

 Tesco, containing Interrogatories 1–10. I have read Tesco’s responses, which Tesco served on

 January 12, 2018, and which relied on Rule 33(d) for responses to Interrogatories 1–3. For

 Interrogatories 1–3, Tesco stated “[s]ubject to the foregoing General and Specific Objections,

 Tesco responds as follows: Pursuant to Fed. R. Civ. P. 33(d), Tesco will produce

 [documents/invoices] that should be sufficient to answer this Interrogatory.” Tesco did not

 provide a Bates range or any other way to identify the documents it references. Interrogatory No.


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 5 generally requests Tesco to identify any variations among the Pusher Arms that would be

 relevant to infringement. Tesco responded there were “slight modifications,” but would not state

 whether those modifications are relevant to infringement. Interrogatory No. 6 requests Tesco

 “[e]xplain when, how, and why you developed and commercialized the Pusher Arm.” Tesco

 responded that the “design was based on a review of other tools via surfing the Web” and that the

 Pusher Arm was sold through “pictorial illustration” prior to 2017. Tesco refused to identify

 which tools were reviewed on the web, or produce the referenced “pictorial illustration.”

 Weatherford notified Tesco of these deficiencies by letter dated February 2, 2018 and asked for

 supplemental response and verification on all responses. Tesco responded by letter dated

 February 9, 2018, wherein Tesco refused to supplement its responses to Interrogatories 1–3, and

 6. Tesco indicated a possibility it would supplement Interrogatory No. 5 after the Markman. I can

 produce a true and correct copy of Weatherford’s First Set of Interrogatories, Tesco’s Responses,

 Weatherford’s Feb. 2, 2018 deficiency letter, and Tesco’s Response upon the Court’s request.

        5.      Tesco has made three document productions in this case. First, Tesco produced

 two documents—four pages of mechanical drawings of the Pusher Arm’s base, and a three-page

 “2014 Product Flyer Update.” On January 9, 2018, Tesco reproduced the four pages of base

 drawings, and three documents containing five pages of drawings showing other Pusher Arm

 components. On January 26, 2018, Tesco produced two invoices for the sale of        Pusher arms,

 two pictures of what looks to be a Pusher Arm prototype, and two documents that are available

 on Tesco’s website—a still from an animation showing the Pusher Arm in operation, which

 Weatherford cited in its infringement contentions, and the “Tesco True Results” bulletin that

 Weatherford attached as Exhibit B to its complaint. The mechanical drawings are dated

                    ;                     ;                    ; or                . The

 mechanical drawings do not appear to match the picture of the Pusher ArP in the Tesco True

 Results bulletin or the two pictures of the Pusher Arm Prototype. Tesco did not produce any of

 field tickets, any operation manuals describing the technical operation and features of the Pusher

 Arm, or its cost. Tesco did not produce any information about the     Pusher Arms that were not


                                                   2
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 sold to third parties, as referenced in Mr. Kelly’s                    email. I can produce a true and

 correct copy of these 11 documents upon the Court’s request.

        6.      In total, Weatherford notified Tesco of its production deficiencies on at least the

 following occasions: By email on 12/22/17, 2/13/18, 3/23/18; by formal letter on 12/11/17 and

 2/2/18; and by telephonic conference on 1/3/18, 2/12/18, and 4/10/2018. Tesco has taken the

 position in all of these communications that it is not aware of any other relevant materials. I

 provided to Tesco’s counsel an email wherein Tesco’s General Counsel stated Tesco made

 Pusher Arms. Counsel for Tesco responded “note that [the email] says that          had been

 manufactured to date, and that      had been SOLD. So apparently there are       in inventory across

 the world. Moreover, as you should know these are reusable products, so the fact they have been

 involved in 16 completions should not come as a surprise.” I can provide copies of the emails or

 letters upon the Court’s request.

        7.      As of 2017, Tesco Corporation is an international company that for many years

 was traded on the NASDAQ under the symbol TESO. According to its 10-K filed with the

 Security and Exchange Commission in 2017, Tesco has locations in at least the United States,

 Canada, Russia, United Arab Emirates, Egypt, an Malaysia, and employees more than 1,000

 employees. According to the United States Patent Office, Tesco Corporation is assigned 167

 patents or published patent applications. I can provide the Court a copy of Tesco’s 10-K or the

 U.S. PTO assignment search upon request.



        I declare under penalty of perjury that the foregoing is true and correct. Executed on

 March 27, 2018 in Houston, Texas.



    Dated: March 27, 2018                   By: /s/ J. Boone Baxter




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